                                                     EXHIBIT 4
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Majority Opinion >



UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF TENNESSEE, NASHVILLE DIVISION




    RANDALL AMBROSE, SR., and SHARON S. AMBROSE, Plaintiffs, vs. R&L CARRIERS CORP., RALPH
    ROBERTS, CEO, KAREN CREGEAR, DIRECTOR HR CORP., and BERT KRELICK, TERMINAL MGR.,
                                        Defendants.


                                                CASE NO. 3:08-0672



                                                 July 31, 2008, Filed




Randall Ambrose, Sr., Petitioner, Pro se, Nashville, TN.

Sharon S. Ambrose, Petitioner, Pro se, Nashville, TN.




E. Clifton Knowles, United States Magistrate Judge.


E. Clifton Knowles

REPORT AND RECOMMENDATION

Judge Trauger has referred this pro se, in forma pauperis action to the undersigned "for a frivolity review under
28 U.S.C. § 1915(e)(2)(B) ." Docket No. 9. That statute provides as follows:

       (2) Notwithstanding any filing fee, or any portion thereof, that may have been paid, the court shall
       dismiss the case at any time if the court determines that -

       (B) The action . . .

       (I) is frivolous or malicious;

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      (ii) fails to state a claim upon which relief may be granted; or

      (iii) seeks monetary relief against a defendant who is immune from such relief.

For the reasons that follow, the undersigned concludes that Plaintiffs have failed to state a claim upon which
relief may be granted, and the undersigned recommends that this action be DISMISSED WITH PREJUDICE.

Plaintiffs have filed a "fill-in-the-blanks" Complaint, stating in part that this action arises under the "Religion and
Disability Discrimination in Violation of Title I of Americans With Disabilities Act of 1990 Wrongful Termination,
Religion v. State." Docket No. 1, p. 1. Plaintiffs' Complaint states, "I was discriminated against because of
religion and due to a family member with a disability." Id. While there are two Plaintiffs in this action, the
Complaint indicates that Plaintiff Randall Ambrose is claiming religious discrimination, and discrimination
based upon the disability of his wife. Plaintiff Randall Ambrose described how and when Defendants
discriminated against him as follows:

      1) I was employed by R&L Carriers, Corp since 2/22/99. I was terminated on 8/17/07 after having
      a one-time sexual incident on 6/23/07 with another employee off the premises on my day off was
      disclosed to my terminal mgr. My religious beliefs were violated because being a Baptist I believe
      onced saved always saved and that morality does not relate to work ethics of work performance.
      However, my employer, Mr. Roberts & the director of HR is the opposite believing that what I did
      was immoral and he alone terminated me and the Human Resource director told me I was
      terminated because I was an "Adulterer."

      2) In violation of title I of Americans with Disabilities Act of 1990 This was the reason she gave me
      over the phone for being terminated & refused to allow me to have a review of my peers as all
      other employees are given. Furthermore because my wife is disabled they felt like her on going
      brain surgeries were costing them greatly in benefits. The week they fired me my son who also
      was injured broke both of his legs.

Docket No. 1, p. 1-2.

With the Complaint, Plaintiffs have submitted a Notice of Rights from the Equal Employment Opportunity
Commission. That Notice is directed solely to Randall N. Ambrose. [*2] Docket No. 1-1.

In order to state a claim upon which relief can be granted, a complaint must contain either direct or inferential
allegations respecting all material elements to sustain a recovery under some viable legal theory. Mezibov v.
Allen, 411 F.3d 712 , 716 (6th Cir. 2005). Conclusory allegations or legal conclusions masquerading as factual
allegations will not suffice. Id . A complaint containing a statement of facts that merely creates a suspicion of a
legally cognizable right of action is insufficient. Bell Atlantic Corp. v. Twombly, 550 U.S. 544 , 127 S.Ct. 1955 ,
1965 , 167 L. Ed. 2d 929 (2007). The "[f]actual allegations must be enough to raise a right to relief above the
speculative level"; they must "state a claim to relief that is plausible on its face." Id. at 1965 , 1974 . See also,
Ass'n of Cleveland Fire Fighters v. City of Cleveland, 502 F.3d 545 , 548 (6th Cir. 2007).

Although the Complaint does not mention Title VII, the Court presumes that one of the claims of Plaintiff
Randall Ambrose is based upon 42 U.S.C. § 2000e-2(a)(1) , which provides:

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      (a) Employer practices. It shall be an unlawful employment practice for an employer -

      (1) to . . . discharge any individual . . . because of such individual's . . . religion . . . .

"Religion" is defined to include:

      all aspects of religious observance and practice, as well as belief, unless an employer
      demonstrates that he is unable to reasonably accommodate to an employee's or prospective
      employee's religious observance or practice without undue hardship on the conduct of the
      employer's business. 1

42 U.S.C. § 2000e(j) (footnote added).

The Sixth Circuit has stated:

      To assert a successful claim of religious discrimination under Title VII, a plaintiff must either
      present direct evidence of discrimination or, in the absence of direct evidence, present a prima
      facie case of indirect discrimination by showing (1) that he was a member of a protected class, (2)
      that he experienced an adverse employment action, (3) that he was qualified for the position, and
      (4) that he was replaced by a person outside of the protected class or that he was treated
      differently than similarly situated employees.

Tepper v. Potter, 505 F.3d 508 , 515 (6th Cir. 2007) (citations omitted).

The Sixth Circuit has also, however, stated:

      The employee bears the burden of establishing a prima facie case [of religious discrimination], and
      sustains that burden by showing that he holds a sincere religious belief that conflicts with an
      employment requirement; that he has informed his employer of the conflict; and that he was
      discharged or disciplined for failing to comply with the conflicting requirement. . . .

      Once a prima facie case is established, the burden shifts to the employer to show that it could not
      reasonably accommodate the employee without undue hardship.

Cooper v. Oak Rubber Co., 15 F.3d 1375 , 1378 (6th Cir. 1994).

It is apparent that Plaintiff Randall Ambrose has not set forth sufficient facts to establish a prima facie case
under either standard. First, Plaintiff has not alleged that he was replaced by a person outside of the protected
class or that he was treated differently than similarly situated employees. Alternatively, Plaintiff's Complaint
does not establish that Mr. Ambrose has a sincere religious belief that "[*3] conflicts with an employment
requirement"; that he informed his employer of that conflict; or that he was discharged for failing to comply with
the "conflicting requirement." In this regard, Plaintiff's "sincere religious beliefs" include the propositions that
"once saved always saved," and that "morality does not relate to work ethics of work performance." But those
beliefs, in and of themselves, do not conflict with any "employment requirement," at least insofar as the
Complaint shows. Additionally, there is nothing in the Complaint to indicate that Plaintiff Randall Ambrose
informed his employer of any alleged conflict or that he was disciplined for failing to comply with the conflicting

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requirement. Instead, the Complaint plainly avers that he was terminated because he had a "one-time sexual
incident . . . with another employee."

Moreover, the Complaint does not aver any discrimination against Plaintiff Randall Ambrose "because of" his
religion. According to the plain language of the Complaint, Plaintiff Randall Ambrose avers only that his
"religious beliefs were violated" because his employer's view of morality was not the same as his own. The
facts that he does not believe his conduct is "immoral," and that his employer apparently did so believe, simply
do not support the conclusion that Plaintiff Randall Ambrose was terminated "because of [his] religion." Thus,
Plaintiff Randall Ambrose cannot state a claim under Title VII.

Title I of the Americans With Disabilities Act ( 42 U.S.C. § 12111 , et seq.) provides in relevant part:

      (a) General rule. No covered entity shall discriminate against a qualified individual with a disability
      because of the disability of such individual in regard to job application procedures, the hiring,
      advancement, or discharge of employees, employee compensation, job training, and other terms,
      conditions, and privileges of employment.

42 U.S.C. § 12112(a) . The following relevant definitions are part of the statutory scheme:

      (4) Employee. The term "employee" means an individual employed by an employer. . . .

      …

      (8) Qualified individual with a disability. The term "qualified individual with a disability" means an
      individual with a disability who, with or without reasonable accommodation, can perform the
      essential functions of the employment position that such individual holds or desires. . . .

Plaintiff Randall Ambrose does not aver that he himself is disabled, or that he was terminated because of his
own disability; instead, Plaintiff Randall Ambrose avers that he was discharged in part because his wife, and
perhaps his son, were disabled. 2Section 12112(a) , however, prohibits discrimination against a qualified
individual with a disability "because of the disability of such individual . . . ." Thus, Plaintiff Randall Ambrose
cannot state a claim under Title I of the Americans With Disabilities Act.

Plaintiff Sharon Ambrose is not alleged to have been an employee of Defendants and, therefore, she cannot
state a claim under either Title I of the Americans With Disabilities Act or Title VII. 3

For the foregoing reasons, the undersigned concludes that [*4] Plaintiffs' Complaint fails to state a claim upon
which relief may be granted, and the undersigned recommends that this action be DISMISSED WITH
PREJUDICE pursuant to 28 U.S.C. § 1915(e)(2)(B) . 4

Under Rule 72(b) of the Federal Rules of Civil Procedure , any party has ten (10) days after service of this
Report and Recommendation in which to file any written objections to this Recommendation with the District
Court. Any party opposing said objections shall have ten (10) days after service of any objections filed to this
Report in which to file any response to said objections. Failure to file specific objections within ten (10) days of
service of this Report and Recommendation can constitute a waiver of further appeal of this Recommendation.


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See Thomas v. Arn, 474 U.S. 140 , 106 S.Ct. 466 , 88 L. Ed. 2d 435 (1985), reh'g denied, 474 U.S. 1111 , 106
S. Ct. 899 , 88 L. Ed. 2d 933 (1986); 28 U.S.C. § 636(b)(1) ; Fed. R. Civ. P. 72 .

/s/ E. Clifton Knowles

E. Clifton Knowles

United States Magistrate Judge


fn
     1

           It is extremely unclear why Congress chose to put a substantive exception to the liability provided for in § 2000e-
           2(a)(1) in the definition of the term "religion." Read literally, the definition provides that if an employer
           "demonstrates that he is unable to reasonably accommodate an employee's or prospective employee's religious
           observance or practice without undue hardship on the conduct of the employer's business," then the term "religion"
           does not include "all aspects of religious observance and practice, as well as belief . . . ." The Sixth Circuit has
           recognized that the "reasonable accommodation" issue is essentially an affirmative defense to a charge of
           religious discrimination, which comes into play only after a plaintiff has initially established a prima facie case.
           Goldmeier v. Allstate Ins. Co., 337 F.3d 629 (6th Cir. 2003)

fn
     2

     As discussed above, the Complaint states in part, "The week they fired me my son who also was injured
     broke both of his legs." The Complaint does not, however, specifically aver that this alleged "disability" had
     anything to do with his termination, or even that it occurred before his termination.

fn
     3

     Additionally, there is nothing in the record to indicate that Plaintiff Sharon Ambrose has appropriately
     exhausted her administrative remedies with regard to any claims that she might have. As discussed above,
     the "Dismissal and Notice of Rights" from the Equal Employment Opportunity Commission, is addressed
     solely to Randall N. Ambrose.

fn
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     A dismissal for failure to state a claim upon which relief can be granted is a judgment on the merits. See
     Federated Dep't Stores, Inc. v. Moitie, 452 U.S. 394 , 399 n.3, 101 S. Ct. 2424 , 69 L. Ed. 2d 103 (1981);
     Pratt v. Ventas, Inc., 365 F.3d 514 , 522 (6th Cir. 2004). Moreover, the Court has no discretion to grant
     Plaintiffs leave to amend their Complaint. See McGore v. Wrigglesworth, 114 F.3d 601 , 612 (6th Cir. 1997),
     disapproved in part on other grounds by Jones v. Bock, 549 U.S. 199 , 127 S. Ct. 910 , 166 L. Ed. 2d 798
     (2007); In Re Prison Litig. Reform Act, 105 F.3d 1131 , 1138 (6th Cir. 1997), disapproved in part on other
     grounds by Jones v. Bock, 549 U.S. 199 , 127 S. Ct. 910 , 166 L. Ed. 2d 798 (2007).


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